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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 10, 2021

UNITED STATES OF AMERICA

Vv.

JOSIAH KENYON,

Defendant.

The Grand Jury charges that:

CRIMINAL NO.

MAGISTRATE NO. 21-MJ-666

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1361

(Destruction of Government Property over
$1000)

18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his official duties incident to
and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, using
a deadly or dangerous weapon, that is, a pylon, did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, that is, L.F., an officer from the Metropolitan Police
Department, while such officer or employee was engaged in or on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, using
a deadly or dangerous weapon, that is, a table leg, did forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of

the United States Government (including any member of the uniformed services), and any person
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assisting such an officer and employee, that is, C.L., an officer from the Metropolitan Police
Department, while such officer or employee was engaged in or on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Sections 111(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, did
willfully injure and commit depredation, and willfully attempt to injure and commit depredation,
against property of the United States, and of any department and agency thereof, and any property
which has been and is being manufactured and constructed for the United States, and any
department or agency thereof, that is a window, causing damage in an amount more than $1000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, did
knowingly enter and remain in restricted grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting, without lawful authority to do so, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a table leg and a pylon.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT SIX

On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

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official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions, and during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a table leg and a pylon.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON, did
knowingly, engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was temporarily visiting, and
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a

table leg and a pylon.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and

(b)()(A))
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds with the intent to impede, disrupt, and disturb the orderly conduct of a session of
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Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Grounds or Buildings, in violation of Title 40, United
States Code, Section 5104(e)(2)(D)

COUNT NINE
On or about January 6, 2021, within the District of Columbia, JOSIAH KENYON,
willfully and knowingly engaged in an act of physical violence within the United States Capitol

Grounds.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.
Wedlbhew Crate, feo

Attorney of the United States in
and for the District of Columbia.
